              Case 1:24-cv-00045-ZCB     Document 1       Filed 03/04/24   Page 1 of 16




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                                     Case No.

JEREMY B. HALES,

     Plaintiff,

v.

LYNETTE MICHELLE LACEY ALEXIS PRESTON

and

JOHN COOK,

  Defendants.
________________________________________________/
                             COMPLAINT

         Plaintiff JEREMY B. HALES (hereinafter, “HALES”), by and through

undersigned counsel, sues LYNETTE MICHELLE LACEY ALEXIS PRESTON

(hereinafter, “PRESTON”) and JOHN COOK (hereinafter, “COOK”), and states:

                                SUMMARY OF THE CASE

         1.       This case is about the use of threats or extortion to compel HALES to

behave in a certain manner and/or to persuade HALES to provide PRESTON and COOK

with benefits.

                                       THE PARTIES

         2.       HALES is a resident of Summit County, Ohio, who has built his career

around his passions through social media, including, without limitation, Facebook,


                                           Page 1 of 16
           Case 1:24-cv-00045-ZCB       Document 1       Filed 03/04/24   Page 2 of 16




YouTube, TikTok, Instagram, and other platforms, with a current YouTube subscription

fan base of over 700,000 people across the world for his YouTube channel “What The

Hale$.

      3.      People who subscribe with Plaintiff’s social media platforms often pay

monthly fees to HALES for premium access to HALES’ social media platform - which

is an “open video diary” of HALES’ life.

      4.      HALES’ social media platforms are where people are EDUCATED,

EQUIPPED and ENCOURAGED (with a dash of humor on the Side).

      5.      HALES has expended and continues to expend substantial time, money, and

resources into acquiring subscribers, providing ongoing programs, and maintaining

relationships and goodwill with them.

      6.      Since October 2021 to date, PRESTON resides in Levy County, Florida, is

a Florida resident, and has been a viewer of HALES’ social media platforms since at

least 2020.

      7.      Since October 2021 to date, COOK resides on the same property as

PRESTON, and as such is a Florida resident in Levy County, Florida, and who is also a

viewer of HALES’ social media platforms since at least 2020.

                           JURISDICTION AND VENUE

      8.      This Court has jurisdiction over this matter under 28 U.S.C. § 1331, 28

U.S.C. § 1332, and 28 U.S.C. § 1367(a).


                                          Page 2 of 16
             Case 1:24-cv-00045-ZCB     Document 1       Filed 03/04/24   Page 3 of 16




      9.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

                            DEFENDANTS’ MISCONDUCT

      10.      In December 2020 HALES purchased land for part-time operations of his

social media platforms in Levy County, Florida.

      11.      In 2020, PRESTON and COOK resided together in North Port, Sarasota

County, Florida.

      12.      On or about May 18, 2020, PRESTON started her own YouTube channel.

                                      Stalking Begins

      12.      On or about July 17, 2021, PRESTON drove from North Port, Florida to a

vacant lot across the street from HALES’ property in Levy County Florida (hereinafter,

the “VACANT LOT ACROSS THE ROAD”), taking a “fan picture” by the entrance to

HALES’ property where his “drive-thru sign” was publicly known to be located. Posting

this “fan picture” to her social media, PRESTON falsely stated (1) she had bought the

VACANT LOT ACROSS THE ROAD, and (2) that HALES was now her “new

neighbor.”

      13.      On the same July 2021 visit, PRESTON asked HALES if he could help

remove a tree from the VACANT LOT ACROSS THE ROAD (which she did not even

own in July 2021), and HALES, not knowing that PRESTON was lying and believing

her lies that she was the owner of the VACANT LOT ACROSS THE ROAD (which she




                                          Page 3 of 16
              Case 1:24-cv-00045-ZCB   Document 1       Filed 03/04/24   Page 4 of 16




did not even own in July 2021), personally used his tractor to move the tree from the

VACANT LOT ACROSS THE ROAD (which she did not even own in July 2021).

        14.     On or about July 21, 2021, PRESTON and COOK listed their North Port,

Florida house for sale.

        15.     On or about October 8, 2021, PRESTON and COOK bought the same

vacant lot across the street from HALES’ property in Levy County Florida, that she

visited in July, 2021.

        16.     On or about October 27, 2021, PRESTON and COOK sold their North Port,

Florida house.

        17.     Between December 2021 and February 2023 both PRESTON and COOK

created multiple local Levy County Facebook pages, asking for donations to

PRESTON’s 501(c)(3) “It’s a Shell Thing” – a purported “tortoise rescue” not open to

the public.

        18.     Between December 2021 and February 2023 PRESTON made it clear to

HALES that she was a fan of HALES and would on occasion ask HALES for “free

merchandise,” stating that she needed money to pay her bills.

        19.     On or about February 12, 2023 HALES relented to the constant requests

from PRESTON and gave PRESTON two Leap Pads.1


    1
     Leap Pads are kid-friendly tablets that include preloaded content featuring core
    skills in mathematics, reading and science as well as music, puzzles, logic and
    creativity to prepare kids for preschool and beyond.
                                         Page 4 of 16
            Case 1:24-cv-00045-ZCB     Document 1       Filed 03/04/24   Page 5 of 16




      20.     On or about February 15, 2023, PRESTON asked HALES if she could

attend for free a paid “meet and greet” live event that HALES was having in Levy County

Florida - with many of his fans and supporters visiting on site from around the world.

      21.     HALES said yes.

      22.     On or about February 20, 2023, PRESTON asked HALES if she could bring

her own Donation Box to the paid “meet and greet” live event.

      23.     HALES said no.

                           Extortion and Blackmail Begins

      24.     Being denied further access to pecuniary advantages they would have if

permitted to solicit donations from HALES’ fanbase, PRESTON and COOK maliciously

begin threatening to do injury to HALES’ reputation with intent thereby to extort a

pecuniary advantage for themselves.

      25.     PRESTON and COOK immediately begin publishing defamatory

statements about HALES on their various social media platforms. In May, 2023 for

example, PRESTON stated on her social media that she “watched Jeremy Hales’ videos

till recently,” and “Jeremy Hales only thinks about the size of his junk.”

      26.     On or about May 1, 2023, HALES went to Ohio with the intention to remain

there until the fall of 2023, only returning occasionally for town hall meetings, which

occur monthly.




                                         Page 5 of 16
             Case 1:24-cv-00045-ZCB   Document 1       Filed 03/04/24   Page 6 of 16




       27.     In May 2023, when Hales returned from Ohio for a town meeting, COOK

(1) pulled a gun on HALES as HALES was driving by on the public roadway to enter

HALES’ own property; (2) trespassed in his truck onto HALES’ property with a gun,

and when HALES confronted him and requested him to leave, COOK told HALES that

if he moves one step further, he will see something “go bang”; and (3) maliciously

threatened to do injury to HALES’ reputation with intent thereby to extort a pecuniary

advantage, and accordingly, publicly stated (falsely) on Facebook that HALES’ fiancé

had oral sex with him, and that he has photographs to prove it.2

       28.     After HALES left Florida to go back to Ohio in May 2023, PRESTON

wrote many double sided road signs and placed them around the roads surrounding

HALES’ property in Levy County, Florida; these signs falsely stated:

   • Jeremy Hales Raped my Daughter!

   • Jeremy Hales Has to Go! What the Hales?

   • Jeremy Hales OHIO Rapist

   • NO OHIO Rapists in Levy County – Stop Jeremy Hales

   • Jeremy Hales Needs to Go! No Child rapists in Levy Co!




   2
    COOK posted “Jeremy would you like me to post the picture of my c8ck in
   Georges (sic) mouth You can't take this one down.”

                                        Page 6 of 16
             Case 1:24-cv-00045-ZCB     Document 1        Filed 03/04/24   Page 7 of 16




   • Stop Jeremy Hales No Rapists in Levy Co!3

       29.     Accordingly, on or about May 23, 2023, HALES hired an attorney who sent

a “cease and desist” letter to PRESTON and COOK, which stated, inter alia,

               [Y]our unlawful defamatory statements directed to Jeremy
               Hales on social media platforms constitutes libel under Florida
               Law. CEASE AND DESIST PUBLISHING ALL
               DEFAMATORY STATEMENTS… It has come to our
               attention that you posted defamatory statements regarding
               Jeremy Hales on various web pages including, but not limited
               to, Otter Creek friends and neighbors, Otter Creek politics, The
               Heart of Otter Creek, It's a Shell Thing Inc., as well as other
               social media platforms…We demand that you immediately
               (A) cease and desist your unlawful defamation of Mr. Jeremy
               Hales, Martha, George, What the Hales, and all other
               variations (including all misspellings and euphemisms such as
               the youtubers, neighbors, etc.), (B) immediately remove and
               delete all postings relating to Mr. Hales and his interests, and
               (C) that you provide us with written assurance within ten (10)
               days that you will cease and desist from further libel directed
               to our clients.

       30.     On or about May 28, 2023, PRESTON posted on her social media that (1)

“I’m gonna stand tall and not let Jeremy Hales hurt me ever again;” (2) she will “put a

cap” in the ass of anyone who messes with her; and (3) “I'm done with it you met your

match Mr. Hales.”




   3
    In July, 2023, PRESTON posted on her social media that “John posted the signs,
   not me.”
                                           Page 7 of 16
              Case 1:24-cv-00045-ZCB    Document 1       Filed 03/04/24   Page 8 of 16




        31.     Despite knowing the falsity of their statements, PRESTON and COOK

used their defamatory statements to persuade HALES’ customers to stop supporting

HALES.

        32.     HALES reported all of the above events while in Ohio, and in September

2023 an Ohio court issued an two-year renewable Restraining Order/Injunction against

PRESTON and COOK for stalking HALES and his fiancé.

        33.     To date, this has not stopped PRESTON and COOK from continuing their

illegal acts against HALES. Rather than cease, PRESTON has demanded that HALES

provide her with a list of the names and contact information of all of his donors.

        34.     As a direct result of Defendants’ misconduct, HALES has incurred

damages.

                       Injury To Hales’ Goodwill And Reputation

        35.     In addition, HALES suffered injury and harm to his reputation and he has

incurred costs associated with his extensive efforts to mitigate against such injury and

harm.

                DEFENDANTS’ PATTERN OF CRIMINAL CONDUCT

        36.     PRESTON’s and COOK’s acts violated Florida's extortion statute, which

makes it a felony to maliciously threaten to accuse another of a crime or offense with the

intent to extort money or pecuniary advantage see Fla. Stat. § 836.05.




                                          Page 8 of 16
            Case 1:24-cv-00045-ZCB      Document 1         Filed 03/04/24   Page 9 of 16




      37.     PRESTON’s and COOK’s acts constitute predicate acts under Florida's

RICO statute and are evidence of PRESTON’s and COOK’s pattern of continuing

criminal activity.

      38.     PRESTON’s and COOK’s acts violated Fla. Stat. § 836.05 by maliciously

threatening to injure HALES with the intent to extort money or gain any pecuniary

advantage whatsoever and/or to do any act or refrain from doing any act against his will.

      39.     PRESTON’s and COOK’s acts constituted at least two distinct criminal acts

in violation of Fla. Stat. § 836.05.

      40.     Fla. Stat. § 836.05 prohibits “utterances or communications which

constitute malicious threats to do injury to another's person, reputation, or property."

Carricarte v. State, 384 So. 2d 1261, 1263 (Fla. 1980). As relevant here, Florida law

makes it unlawful for any person, "[t]hrough a pattern of criminal activity[,] . . . to

acquire or maintain, directly or indirectly, any interest in or control of any enterprise or

real property," or for a person "[e]mployed by, or associated with, any enterprise to

conduct or participate, directly or indirectly, in such enterprise through a pattern of

criminal activity." Fla. Stat. § 772.103.

                                 COUNT 1 – DEFAMATION
                                      (PRESTON)

      41.     HALES incorporates paragraphs 1 through 40 as if fully set forth below.

      42.     This is an action for damages against PRESTON that exceeds Seventy-Five

Thousand ($75,000.00) Dollars for defamation per se.
                                            Page 9 of 16
             Case 1:24-cv-00045-ZCB       Document 1        Filed 03/04/24   Page 10 of 16




       43.       PRESTON orally and in writing published false statements about HALES

to third parties.

       44.       The false statements were calculated to defame or diminish the reputation

of HALES in his immediate community and within his capacity.

       45.       The false statements were made with knowledge or their falsity or with

reckless disregard as to their veracity.

       46.       The false statements impute to the Plaintiff behavior or characteristics that

are incompatible with the proper conduct of his business, profession, and office.

       47.       The false statements also impute to the Plaintiff the commission of a crime.

       48.       As a result of the defamatory publications, HALES has suffered general

damages.

       WHEREFORE, it is prayed that this Honorable Court enter judgment for

damages, costs, prejudgment interest and for any other such relief as might be

appropriate.

                                    COUNT 2 – DEFAMATION
                                           (COOK)

       49.       HALES incorporates paragraphs 1 through 40 as if fully set forth below

       50.       This is an action for damages against COOK that exceeds Seventy-Five

Thousand ($75,000.00) Dollars for defamation per se.

       51.       COOK orally and in writing published false statements about HALES to

third parties.
                                            Page 10 of 16
            Case 1:24-cv-00045-ZCB      Document 1         Filed 03/04/24   Page 11 of 16




      52.      The false statements were calculated to defame or diminish the reputation

of HALES in his immediate community and within his capacity.

      53.      The false statements were made with knowledge or their falsity or with

reckless disregard as to their veracity.

      54.      The false statements impute to the Plaintiff behavior or characteristics that

are incompatible with the proper conduct of his business, profession, and office.

      55.      The false statements also impute to the Plaintiff the commission of a crime.

      56.      As a result of the defamatory publications, HALES has suffered general

damages.

      WHEREFORE, it is prayed that this Honorable Court enter judgment for

damages, costs, prejudgment interest and for any other such relief as might be

appropriate.

            COUNT 3 – CIVIL REMEDIES FOR CRIMINAL PRACTICES ACT
                                 (PRESTON)

      57.      HALES incorporates paragraphs 1 through 40 as if fully set forth below.

      58.      This is an action for damages against PRESTON that exceeds Seventy-Five

Thousand ($75,000.00) Dollars.

      59.      In two distinct instances separated in time, PRESTON extorted HALES and

within the meaning of Fla. Stat. § 836.05.

      60.      PRESTON’s acts constituted a violation of Fla. Stat. § 836.05, which

prohibits any person from using a written communication to “maliciously threaten[]
                                           Page 11 of 16
            Case 1:24-cv-00045-ZCB     Document 1           Filed 03/04/24   Page 12 of 16




injury” to the property of another “with intent to extort money or any pecuniary

advantage whatsoever, or with intent to compel the person so threatened, or any other

person, to do any act or refrain from doing any act against his or her will. . . .”

      61.     PRESTON’s conduct, among other acts, constituted a “pattern of criminal

activity” in violation of Fla. Stat. § 772.103(4) by constituting an “endeavor to violate

any of the provisions” of the statute, namely Fla. Stat. § 772.103(3), which prohibits any

person from participate in an extortion enterprise through a pattern of criminal activity.

      62.     This ongoing pattern of criminal conduct constitutes a continuing threat of

illegal conduct persisting into the future.

      WHEREFORE, HALES respectfully requests that the Court enter judgment in

its favor and award the following relief:

      a.      Actual damages, in an amount to be established at trial;

      b.      Statutory damages;

      c.      Attorneys’ fees and costs incurred in the prosecution of this action; and

      d.      Such other and further relief as the Court may deem appropriate in the

circumstances.

      COUNT 4 – CIVIL REMEDIES FOR CRIMINAL PRACTICES ACT
                             (COOK)

      63.      HALES incorporates paragraphs 1 through 40 as if fully set forth below.

      64.     This is an action for damages against COOK that exceeds Seventy-Five

Thousand ($75,000.00) Dollars.
                                            Page 12 of 16
            Case 1:24-cv-00045-ZCB      Document 1          Filed 03/04/24   Page 13 of 16




      65.     In two distinct instances separated in time, COOK extorted HALES and

within the meaning of Fla. Stat. § 836.05.

      66.     COOK’s acts constituted a violation of Fla. Stat. § 836.05, which prohibits

any person from using a written communication to “maliciously threaten[] injury” to the

property of another “with intent to extort money or any pecuniary advantage whatsoever,

or with intent to compel the person so threatened, or any other person, to do any act or

refrain from doing any act against his or her will. . . .”

      67.     COOK’s conduct, among other acts, constituted a “pattern of criminal

activity” in violation of Fla. Stat. § 772.103(4) by constituting an “endeavor to violate

any of the provisions” of the statute, namely Fla. Stat. § 772.103(3), which prohibits any

person from participate in an extortion enterprise through a pattern of criminal activity.

      68.     This ongoing pattern of criminal conduct constitutes a continuing threat of

illegal conduct persisting into the future.

      WHEREFORE, HALES respectfully requests that the Court enter judgment in

its favor and award the following relief:

      e.      Actual damages, in an amount to be established at trial;

      f.      Statutory damages;

      g.      Attorneys’ fees and costs incurred in the prosecution of this action; and

      h.      Such other and further relief as the Court may deem appropriate in the

circumstances.


                                            Page 13 of 16
            Case 1:24-cv-00045-ZCB       Document 1        Filed 03/04/24   Page 14 of 16




                        COUNT 5 - TORTIOUS INTERFERENCE
                   WITH ADVANTAGEOUS BUSINESS RELATIONSHIPS
                                    (PRESTON)

      69.       HALES incorporates paragraphs 1 through 40 as if fully set forth below.

      70.       This is an action for damages against PRESTON that exceeds Seventy-Five

Thousand ($75,000.00) Dollars.

      71.       HALES maintains valid and enforceable contracts and business

relationships with his customers.

      72.       PRESTON is knowledgeable of the contractual and business relationship

between HALES and his customers.

      73.       Despite knowledge of the customer’s contractual and business relationship

with HALE, PRESTON intentionally and without valid justification interferes with such

relationship.

      74.       HALES is damaged by PRESTON’s unlawful conduct by losing revenue

streams that otherwise would remain with HALES absent PRESTON’s interference with

HALES’ valid contractual relationships.

      WHEREFORE, HALES respectfully requests that the Court enter judgment in

his favor and against PRESTON, and award the following relief:

      a.        Compensatory damages, in an amount to be established at trial;

      b.        Attorneys’ fees and costs incurred in the prosecution of this action; and




                                           Page 14 of 16
            Case 1:24-cv-00045-ZCB     Document 1         Filed 03/04/24   Page 15 of 16




      c.        Such other and further relief as the Court may deem appropriate in the

circumstances.

                        COUNT 6 - TORTIOUS INTERFERENCE
                   WITH ADVANTAGEOUS BUSINESS RELATIONSHIPS
                                     (COOK)

      75.       HALES incorporates paragraphs 1 through 40 as if fully set forth below.


      76.       This is an action for damages against COOK that exceeds Seventy-Five

Thousand ($75,000.00) Dollars.

      77.       HALES maintains valid and enforceable contracts and business

relationships with his customers.

      78.       COOK is knowledgeable of the contractual and business relationship

between HALES and his customers.

      79.       Despite knowledge of the customer’s contractual and business relationship

with HALE, COOK intentionally and without valid justification interferes with such

relationship.

      80.       HALES is damaged by COOK’s unlawful conduct by losing revenue

streams that otherwise would remain with HALES absent COOK’s interference with

HALES’ valid contractual relationships.

      WHEREFORE, HALES respectfully requests that the Court enter judgment in

his favor and against COOK, and award the following relief: Compensatory damages,

in an amount to be established at trial; Attorneys’ fees and costs incurred in the

                                          Page 15 of 16
         Case 1:24-cv-00045-ZCB     Document 1         Filed 03/04/24   Page 16 of 16




prosecution of this action; and such other and further relief as the Court may deem

appropriate in the circumstances.

                        DEMAND FOR JURY TRIAL
                HALES demands a trial by jury on all issues so triable.

                                Dated: March 4, 2024

                               Respectfully submitted,
                             SHOCHET LAW GROUP
                            Attorneys for Jeremy B. Hales
                                  409 N. Main Street
                                  Trenton, FL 32693
                               By: /s/ Randall Shochet
                                Randall Shochet, Esq.
                                    FBN.: 959421
                              attorneys@counsel.insure

                           CERTIFICATE OF SERVICE

      I hereby certify that on March 4, 2023, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

                               By: /s/ Randall Shochet
                               Randall Shochet, Esq.




                                       Page 16 of 16
